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                         UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,                )       CASE NO.1:14cr420
                                         )
                                         )
                     Plaintiff,          )       JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
CHAUNCEY D. DENNIS,                      )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge White to Count One in the Indictment. The Court finds that the

Defendant’s proffer of guilt was made under oath knowingly, intelligently and voluntarily

and that all requirements imposed by the United States Constitution and Fed.R.Crim.P.

11 are satisfied. THEREFORE, the Court adopts the Report and Recommendation of

Magistrate Judge White, approves the plea agreement, accepts the Defendant’s offer of

guilt and finds the Defendant guilty as charged in the Indictment.

      The signed Plea Agreement shall be filed as of the date of this Order.



      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 11/16/2015                                 CHRISTOPHER A. BOYKO
                                                United States District Judge
